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                                                                                 2211-CC00740



            IN THE ELEVENTH JUDICIAL CIRCUIT, STATE OF MISSOURI

                                 CIRCUIT JUDGE DIVISION

PATRICIA S. SCOTT                              )
and WALLACE SCOTT,                             )
                                               )
               Plaintiffs,                     )
                                               )       Case No.:
vs.                                            )
                                               )
                                               )
FORD MOTOR COMPANY,                            )
                                               )
               Defendant.                      )

Serve: The Corporation Company
       120 S. Central
       Clayton, MO 63105


                                   PLAINTIFFS’ PETITION

       COMES NOW Plaintiffs Patricia Scott and Wallace Scott, by and through undersigned

counsel, and for their causes of action against Defendant Ford Motor Company states as follows:

                             PARTIES, JURISDICTION, and VENUE

       1.      At all times relevant, Plaintiffs Patricia Scott and Wallace Scott (“Plaintiffs”)

were citizens of St. Louis County, Missouri.

       2.      At all times relevant, Plaintiffs owned a 2009 Ford Fusion (VIN Number:

3FAHP08149R172420) hereinafter known as the subject “vehicle”.

       3.      Defendant Ford Motor Company (“Defendant”) is a foreign corporation doing

business in the State of Missouri and made itself amenable to suit in the State of Missouri by

reason of having sold and/or distributed its vehicles in Missouri or by reason of having placed



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their vehicles into the stream of commerce for use in Missouri, and/or by maintaining a

registered agent in Missouri.

       4.      At all times relevant, Defendant was in the business of, inter alia, designing,

engineering, manufacturing, distributing, and selling vehicles under the brand name Ford,

including the subject Ford, through dealerships in Missouri. Defendant receives substantial

revenues each year from sales in Missouri. Through its actions and those of its affiliated

companies and agents, Defendant conducts business in Missouri in that it causes its products to

be marketed, distributed, sold and used within this State. Defendant’s substantial contacts with

the State of Missouri are so continuous and systematic as to render it essentially at home in this

State. Therefore, this Court may exercise general jurisdiction over this Defendant. Furthermore,

Defendant has appointed a registered agent for the service of process and otherwise purposely

availed itself of the privilege of conducting business in the State of Missouri, thereby consenting

to this Court’s exercise of personal jurisdiction. Additionally, the motor vehicle incident

described herein occurred in the State of Missouri and Defendant committed tortious acts within

Missouri in that it designed, manufactured, tested, distributed, marketed, advertised, and sold the

vehicle for distribution, sale, and use in the State of Missouri, thus this Court has specific

personal jurisdiction pursuant to Mo. Rev. Stat. § 506.500(3).

       5.      Venue is proper in this Court Pursuant to Mo. Rev. Stat. § 508.010, and Mo. Rev.

Stat. § 506.500 because Plaintiffs were first injured in St. Charles County, Missouri by the

wrongful and negligent conduct of the Defendant alleged herein.

                     BACKGROUND AND GENERAL ALLEGATIONS

       6.      On December 11, 2018, Patricia Scott drove her 2009 Ford Fusion

vehicle Westbound on Interstate 64 in St. Charles County, Missouri.



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         7.    At 10:33am that morning, Plaintiff Patricia Scott and her passenger, Marilyn

Arnold, were struck head on by an automobile traveling eastbound in the westbound lane.

         8.    At the time of the collision, the vehicle’s driver-side steering wheel airbag failed

to immediately deploy causing Plaintiff Patricia Scott to violently strike her forehead on the

steering wheel. The air bag deployed sometime after Plaintiff struck her forehead on the steering

wheel.

         9.    As a result of the airbag failure, the Ford vehicle failed to contain and keep

Plaintiff Patricia Scott in a safe position in the vehicle and prevent her from violently striking her

forehead on the steering wheel..

         10.   As a direct result of Defendants’ negligence and the defective and unreasonably

dangerous condition of the vehicle’s driver-side steering wheel airbag, Plaintiff Patricia Scott

suffered severe and permanent injuries. Plaintiff suffered a severe concussion and cognitive

decline, a fractured sternum, twelve fractured ribs, a fractured left wrist, and several facial

contusions. As a result of her traumatic brain injury, Plaintiff Patricia Scott was rendered totally

disabled by the Social Security Administration and she is not able to work and earn an income as

a registered nurse. Further, Plaintiff’s ability to engage in social and recreational activities, and

to enjoy life generally, has been severely diminished; all the effects and injuries above are

serious, permanent and progressive, and the function and use of the aforesaid body parts and

organs are impaired, diminished and made painful.

         11.   Before December 11, 2018, Defendant, in the regular course of their business,

designed, manufactured, marketed, distributed, placed into the stream of commerce, and sold the

Subject Ford, including its front steering wheel and steering wheel airbag.




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       12.     At all times relevant, Plaintiffs Patricia Scott and Walter Scott used the Subject

Ford and steering wheel in a manner reasonably anticipated and intended by Defendant.

       13.     At the time of the collision and at the time the vehicle left the control of

Defendant, the vehicle and its driver’s side airbag system was defective and unreasonably

dangerous in its design and/or manufacture.

       14.     At the time of the collision, the vehicle, including its front steering wheel air bag

system, was in the same or substantially the same condition as it was when it left Defendant

control.

       15.     At all times relevant, Defendant knew that the vehicle would reach consumers

without substantial change in the condition in which it was sold.

                                             COUNT I

                                      STRICT LIABILITY

       16.     Plaintiff, Patricia Scott, adopts and incorporates by reference the allegations set

forth in the preceding paragraphs.

       17.     At all times herein, Defendant was actively engaged in the business of designing,

manufacturing, marketing, warranting, distributing, and selling automobiles, including the

aforementioned vehicle.

       18.     Defendant designed, manufactured, marketed, warranted, distributed, installed,

sold, and placed into the stream of commerce the vehicle and its steering wheel and steering

wheel airbag system in the normal course of its business.

       19.     At the time of the collision, the vehicle and its steering wheel and airbag were

being used in a manner reasonably anticipated and intended by the Defendant.




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       20.     Defendant knew that the vehicle and the steering wheel and steering wheel airbag

would reach customers, including Plaintiff, without substantial change in the condition in which

it was sold, would be used without inspection for defects, and represented that it could be used

safely and would be fit for the ordinary purposes for which it was purchased.

       21.     At the time the vehicle left the control of Defendant, as well as the time of the

collision and the time Plaintiff Patricia Scott sustained her injuries, the vehicle and its steering

wheel and steering wheel airbag was defective and unreasonably dangerous.

       22.      Defendant knowingly, negligently, and recklessly designed, manufactured,

marketed, distributed, sold, and placed into the stream of commerce the vehicle, including its

steering wheel and steering wheel airbag system, in a defective and unreasonably dangerous

condition.

       23.     The vehicle and its steering wheel and steering wheel airbag were defective and

unreasonably dangerous when put to a reasonably anticipated use in that:

                 a.    The steering wheel airbag had the propensity to fail and collapse backward

                       during reasonably foreseeable impacts, causing occupants to be injured and

                       receive enhanced injuries.

                 b.   Defendant did not provide reasonable and adequate warnings to consumers

                       of the propensity steering wheel airbag to fail during reasonably foreseeable

                       impacts causing and/or increasing the risk of injuries;

                 c.    Defendant did not reasonably and adequately test the vehicle,

                       including its steering wheel airbag, before and during the design,

                       engineering, production, distribution, and sale of the vehicle to the public;

                 d.    The vehicle, including its steering wheel airbag, was not reasonably


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              crashworthy:

           e. The vehicle, including particularly its steering wheel airbag, was designed in

              such a manner that it did not immediately deploy prior to Plaintiff striking

              her head on the steering wheel;

           f. The vehicle was designed, engineered, manufactured, tested, marketed,

              advertised, distributed, warranted, supplied, and sold with a defective

              steering wheel air bag system rendering the vehicle unreasonably dangerous

              and less crashworthy during foreseeable impacts;

           g. The vehicle, in particular its steering wheel and steering wheel airbag, was

              designed,    engineered,     manufactured,   tested,   marketed,   advertised,

              distributed, warranted, supplied, and sold without incorporating adequate

              safety components to prevent steering wheel airbag failure during reasonably

              foreseeable motor vehicle impacts, causing occupants to be injured and/or

              receive enhanced injuries;

           h. Defendant designed and manufactured the vehicle’s steering wheel and

              steering wheel airbag so that it was susceptible to failure during reasonably

              foreseeable impacts. Alternative airbag designs were widely available that

              would have provided more reliable steering wheel airbag deployment;

           i. The Defendant designed, engineered, manufactured, marketed, advertised,

              warranted, distributed, installed, placed into the stream of commerce, and sold

              without incorporating an adequately safe steering wheel and steering wheel

              airbag to make it safe for its intended use and users during reasonably

              foreseeable impacts.



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       24.     The defective and unreasonably dangerous conditions associated with the vehicle

and its steering wheel and steering wheel airbag existed when the vehicle left the Defendant’s

control. At the time of the collision the steering wheel airbag system was in the same condition it

was in when it left the defendant’s possession.

       25      As a result of the vehicle’s steering wheel airbag system failure, Plaintiff Patricia

Scott suffered the following damages;

               a.      Past medical and rehabilitation costs;

               b.      Lost wages and impaired earning capacity;

               c.      Rendered totally disabled by the Social Security Administration;

               d.      Scarring and disfigurement;

               e.      Substantial cognitive decline and impairment; and

               f.      Past and future pain and suffering.

       WHEREFORE, Plaintiff Patricia Scott prays judgment against the Defendant, under

Count I herein, in an amount that is fair and reasonable in excess of $25,000.00 and for such

other and further relief the Court deems just and equitable in the premises.

                                            COUNT II

                        FAULURE TO WARN – STRICT LIABILITY

       26.     Plaintiff, Patricia Scott, adopts and incorporates by reference the allegations set

forth in the preceding paragraphs.

       27.     The Defendant knew or should have known of the above-referenced defective and

unreasonably dangerous conditions in the vehicle’s driver’s side air bag system and failed to

warn Plaintiff and all other users of such dangerous conditions in the vehicle.




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       28.     Despite its knowledge, defendant failed to provide adequate warnings addressing

the defective and unreasonably dangerous conditions of the vehicle’s steering wheel airbag

system.

       29.     As a direct and proximate result of the vehicle’s steering wheel airbag system

failure, Plaintiff Patricia Scott sustained severe and enhanced injuries that are permanent and

progressive in nature.

       30.     As a result of the vehicle’s steering wheel airbag system failure, Plaintiff Patricia

Scott suffered the following damages;

               a.        Past medical and rehabilitation costs;

               b.        Lost wages and impaired earning capacity;

               c.        Rendered totally disabled by the Social Security Administration;

               d.        Scarring and disfigurement;

               e.        Substantial cognitive decline and impairment; and

               f.        Past and future pain and suffering.

       WHEREFORE, Plaintiff Patricia Scott prays judgment against the Defendant, under

Count I herein, in an amount that is fair and reasonable in excess of $25,000.00 and for such

other and further relief the Court deems just and equitable in the premises.

                                  Count III – Loss of Consortium

       31.     Plaintiff, Wallace Scott, adopts and incorporates by reference each and every

allegation and averment contained in the foregoing paragraphs as though fully set forth herein.

       32.     Plaintiff Walter Scott is and was at all times mentioned herein the lawfully

wedded husband of Plaintiff Patricia Scott.




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        33.     As a direct and proximate result of the dangerous and defective conditions of the

steering wheel and steering wheel airbag system in the vehicle as well as the Defendant’s failure

to warn of such conditions, Plaintiff Wallace Scott has lost the care, comfort, services,

companionship, and consortium of his wife and will suffer damages for the continued care,

treatment, and assistance to his wife for the rest of his life.

        WHEREFORE, Plaintiff, Wallace Scott, prays judgment against the Defendant, under

Count III herein, in an amount that is fair and reasonable in excess of $25,000.00 and for such

other and further relief the Court deems just and equitable in the premises.




                                                Respectfully Submitted,

                                                MCDONNELL & MCDONNELL



                                          By: /s/ Bernard P. McDonnell
                                              Bernard P. McDonnell MBE #27372
                                              /s/ Myles D. McDonnell
                                              Myles D. McDonnell MBE #66721
                                              231 S. Bemiston (Suite 800)
                                              Clayton, MO 63105
                                              (314) 721-3898
                                              (314) 854-1386 (Fax)
                                              bpm@mcdonnellandmcdonnell.com
                                              mdm@mcdonnellandmcdonnell.com
                                              Attorneys for Plaintiffs




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